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                          Clerk
                   Poll Worker Manual




                   ALAMEDA COUNTY
                REGISTRAR OF VOTERS
                   1225 Fallon Street
                    Oakland, CA 94612
                        acvote.org
         June 7, 2016 – Presidential
              Primary Election
      Polls Open 7:00 a.m. to 8:00 p.m.
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                                    Introduction
Poll Worker Etiquette
Attention all Poll Workers!
The following guidelines are intended to help you on Election Day and help us maintain a good
working relationship with all of our Polling Place owners.
Please remember: The manner in which you communicate with the Polling Place owner/manager
directly affects whether or not we are able to continue using a facility. Please show consideration for
the person(s) allowing us to use their facility. Please keep the following suggestions in mind on
Election Day when you are working at the Polls.
   BOARD MEMBERS ARE NOT ALLOWED TO BRING CHILDREN TO THE POLLING
    PLACE!!!
   We are guests in the Polling Place facility. The Inspector should familiarize themselves with the
    rules. Use tape and thumb tacks carefully on the walls or woodwork so that you do not
    permanently damage the facility. If in doubt, ask first.
   Be polite to the other occupants sharing the space. If major problems occur, call the Registrar of
    Voters Office.
   Bilingual Poll Workers are present in order to assist the language communities. The
    Bilingual Poll Workers are placed in each Polling Place based on the number of language
    Voters in that Precinct. Regardless on the number of language Voters needing assistance
    from a Bilingual Poll Worker, any missing Bilingual Poll Worker must be replaced.
   Do not move large furniture without permission.
   The Polling Place owner is not required to give Poll Workers access to bathroom facilities,
    telephones, and kitchens. If they are offered, please keep them neat. If they are not available,
    please make other arrangements.
   All Poll Workers are an extension of the Registrar of Voters Office. The manner in which you
    perform your duties is a direct reflection upon our office.
   We hope these guidelines will be helpful on Election Day.


                    THANK YOU FOR SERVING AS A POLL WORKER!




                                                                                                          II
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      Serving the Community
      Voter Bill of Rights
      The Help America Vote Act (HAVA) requires a Voter Bill of Rights to be posted both inside and
      outside the polling place. The Alameda County Registrar of Voters is required to post English,
      Spanish, Chinese, Tagalog, and Vietnamese versions of this Bill. Targeted precincts will be required
      to post additional versions in Hindi, Japanese, Khmer, and Korean. It is your duty to ensure these
      rights are extended to all Voters.
      1. You have the right to cast a ballot if you are a valid registered voter.
      2. You have the right to cast a provisional ballot if your name is not listed on the voting rolls.
      3. You have the right to cast a ballot if you are present and in line at the polling place prior to the
         close of the polls.
      4. You have the right to cast a secret ballot free from intimidation.
      5. You have the right to receive a new ballot if, prior to casting your ballot, you believe you made a
         mistake.
      6. You have the right to receive assistance in casting your ballot, if you are unable to vote without
         assistance.
      7. You have the right to return a completed vote-by-mail ballot to any precinct in the county.
      8. You have the right to election materials in another language, if there are sufficient residents in
         your precinct to warrant production.
      9. You have the right to ask questions about election procedures and observe the election process.
      10. You have the right to report ay illegal or fraudulent activity to a local elections official or to the
          Secretary of State’s Office.
      Voter Assistance: Accessibility Assistance
      The Americans with Disabilities Act (ADA) and Help America Vote Act (HAVA) require that
      assistance, equipment, and voting machines be provided to make the voting process available to
      Voters with a range of needs. For more information on working with Voters requiring assistance, see
      The Guide (available on Election Day) or the “Voters with Disabilities” section of this Manual.




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                     Training Goal
   The goal of training is to ensure that
   Poll Workers are prepared to perform
   their duties correctly.
   The role of a Poll Worker is to provide
   a positive voting experience for all.

                                 2




       Poll Worker’s Information
                                                   Contact
  Role                  Name
                                                 Information
Inspector

 Judge

 Clerk

 Clerk

Student




                                                                     IV
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                     TOP TWO CANDIDATES
                         OPEN PRIMARY ACT

      VOTER-NOMINATED OFFICES

              Any voter may vote for any candidate for a voter-nominated office, if they meet
      the other qualifications required to vote for that office. The top two vote-getters at the
      primary election move on to the general election for the voter-nominated office even if
      both candidates have specified the same party preference designation. No party is
      entitled to have a candidate with its party preference designation move on to the
      general election, unless the candidate is one of the two highest vote-getters at the
      primary election.

          As required by California Elections Code sections 8121(b)(3), 9083.5, 10704(d)




        What Voters will see in the General Election
        On June 8, 2010, California Voters approved Proposition 14, which created the Top Two
                                     Candidates Open Primary Act.
      The two candidates who receive the most votes in the Primary Election, regardless of party
                              preference, move on to the General Election
              ONLY FOR VOTER-NOMINATED OFFICES (DOES NOT APPLY FOR PRESIDENT)
                                            GENERAL ELECTION




                                            PRIMARY ELECTION




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 PRE-ELECTION



           Notice of Appointment
All appointed Poll Workers will
receive a Notice of Appointment
indicating the following:
 Election Date
 Report Time
 Polling Place Hours
 Polling Place location
 Precinct Number
 Precinct Board Members and
    their phone numbers
Additional information
regarding Poll Worker Training
is included in the Notice of
Appointment.
           If you did not receive your Notice of Appointment,
               call the Registrar of Voters at (510) 272-6971.

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                                          Precinct Board
       Persons appointed to serve as Poll Workers for the Precinct (CEC 12301)

                                        Inspector’s Responsibilities:
                                         Leads Polling Place
                                         Abides by Federal, State, and Local Election Laws
                                         Makes sure pre-assigned tasks are done properly
           Inspector

                                        Judge’s Responsibilities:
                                         Assists in leading Polling Place
                                         Abides by Federal, State, and Local Election Laws
             Judge                       Makes sure pre-assigned tasks are done properly

                                        Clerk’s and Student’s Responsibilities:
                                         Assists Inspector and Judge
        Clerk     Clerk                  Abides by Federal, State, and Local Election Laws
                                         Makes sure pre-assigned tasks are done properly
                                                                8

            Student




                          Precinct Coordinator

                       Precinct Board     Security Seals and Roster-Index   Official Table     Voting        Signs
                                        Seal Verification Form                                            CEC 14105.3
                                                                                             Equipment
     ASSIGNED TO 5-7 POLLING PLACES; MUST VISIT EACH POLLING PLACE AT LEAST 6 TIMES
    Precinct Coordinators are expected to:
     Provide leadership and guidance to all Poll Workers                                        Note: Precinct
     Assist Poll Workers in their assigned Polling Places                                      Coordinator has
     Make sure that all procedures and laws are being followed                                  extra supplies
     Check the overall condition of the Polling Place


                        Precinct Coordinator/Inspector Routine Visit Sign Off Sheet:
                         Inspector must write Precinct Number on the form
                         Precinct Coordinator and Inspector or Judge need to initial form every
                          visit
                         Time of visit must be recorded on the form
                                                                9




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              Pre-Election Tasks

  All Poll Workers must:
   1. Schedule and attend a mandatory Poll Worker Training

  Inspector must:
   2. Pick Up Supplies
   3. Inventory all Supplies
   4. Prepare Roster-Index
   5. Label Colored Bags
   6. Confirm Access to the Polling Place
   7. Call all Precinct Board Members

                                   10




  Inspector will pick up Supplies


           Cell Phone                   Wedge, Light, Mat (if any)




           Red Trolley                      Turquoise Trolley
         Each Trolley will include a Trolley Supply Checklist.



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        Inspector will inventory all Supplies

                                 Inspector will use the Trolley Supply
                                  Checklists to make sure all contents are
                                  complete.
                                 The Precinct Number(s) on the Trolleys,
                                  the Roster-Index, and the labels on
                                  box(es) of Official Poll Inspector Ballots
                                  must match your assigned Precinct.


    Opening Polls Supply Bag
    Official Table Supply Bag
    Closing Polls Supply Bag

                                           12




      Colored Bags
      These Colored Bags will be used at your Polling Place.

                                                            456789
                      456789




           Orange Write-In Ballots Bag          Teal Unscanned Voted Ballots Bag

                       456789
                                                           456789




             Gray Voided/Surrendered               Purple Spoiled Ballots Bag
             Vote By Mail Ballots Bag


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                        Delivered to the Polling Place
                The equipment, supplies and secured Official Ballots seen in the
                     image will already be delivered to the Polling Place.




                                                                              Scanned Voted
                                                               Voting         Official Ballots
                                Scanner      Touchscreen       Booths          Box (empty)

 Voting Equipment
   Delivery Cart




                                             Accessible       Tri-Fold
                                A-Frame      Entrance                     Voter Information
     Official Ballots                         A-Frame                          Center
      Delivery Cart
           Some miscellaneous supplies will be found inside the Scanner Bins

Inspector will call all Precinct Board Members
Contact information is found on Inspector’s Notice of Appointment

 Notice of
 Appointment




                          Inspector               Judge       Clerk      Clerk      Student

 Precinct Coordinator
1. Confirm their commitment to serve on Election Day.
2. Verify if Precinct Board Members (Poll Workers) have attended the
   mandatory Poll Worker Training or remind them to attend a mandatory Poll
   Worker Training.
3. Remind Poll Workers when and where to report on Election Day.
4. Determine availability to set up the Polling Place the day or night before
   Election Day.

     Your Inspector will contact you to help in setting up the Polling Place the night
             before the Election. Inspector will arrange for access to set up.


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      If permitted to set up the Polling Place the day or night
             before Election Day, set up the following:
     Set up the inside of the Polling Place.
           Follow the diagram in “The Guide” or “Opening Job Card 1” when
           setting up the Polling Place.


     Set up Blue Voting Booths.
           Follow the instructions on “Opening Job Card 2” when setting up
           Blue Voting Booths.


     Set up the Official Table.
           Follow the diagram in “The Guide” or “Opening Job Card 3” when
           setting up the Official Table. DO NOT SET UP THE OFFICIAL
           BALLOTS AND ROSTER-INDEX.



     Set up Inside Signs.
           Follow instructions on “Opening Job Card 4” when setting up the
           Inside Signs.

                                                                             CEC   14105.3   (if any)




                            Set Up Reminders
                        DO NOT
     UNSEAL, UNLOCK, OR SET UP SCANNER,
       TOUCHSCREEN, OFFICIAL BALLOTS
     DELIVERY CART, OR THE OFFICIAL POLL
      BALLOTS THE DAY OR NIGHT BEFORE
                 ELECTION.

                        DO NOT
       LEAVE THE OPENING POLLS SUPPLY
       BAG, ROSTER-INDEX, OFFICIAL POLL
      INSPECTOR BALLOTS, AND TROLLEYS
         IN POLLING PLACE OVERNIGHT.
      These items must be stored securely at all
      times and brought to the Polling Place on
                 Election Morning.


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  OPENING THE
     POLLS
6:00 a.m. – 7:00 a.m.




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       Opening the Polls Election Day
    All Poll Workers must report         FULL PRECINCT BOARD must
        to the Polling Place at          help set up the Polling Place.




                                             Inspector           Judge




                                           Clerk         Clerk   Student

          on Election Day                   Business casual attire




           Inspector Responsibilities:

        Leads Polling Place
        Abides by Federal, State, and Local Election Laws
        Makes sure pre-assigned tasks are done properly
           Refers to “The Guide”
           Distributes Job Cards




                                    20
                                         JOB CARDS

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                              JOB CARDS
       To help Inspector stay organized and to assist Poll Workers perform
                               proper procedures.

                                    3 Sets




         Opening                       Official Table             Closing
        Job Cards                       Job Cards                Job Cards
(Opening Polls Supply Bag) (Official Table Supply Bag) (Closing Polls Supply Bag)




                         Opening Job Cards
 Setting up the Scanner and Touchscreen is a 2 person
  rule.

                                 Opening Tasks
      Inspector               Judge                Clerk 1            Clerk 2
    Administer Oath          Take Oath            Take Oath          Take Oath
  Badges/Election Pins    Wear Badge/Pin        Wear Badge/Pin    Wear Badge/Pin
   Hand Out Job Cards      Use Job Card          Use Job Card       Use Job Card
   Accessible Polling
     Place Set Up
      Touchscreen            Scanner             Touchscreen          Scanner
     Card Activator        Voting Booths        Official Table   Polling Place Signs
       Checklist           See Inspector         See Inspector      See Inspector




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                                  Notes
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                                1. Administers the Oath to all Poll Workers CEC 12321
                             All Poll Workers must sign the C mb ned Oath f Off ce and Payr ll f rm
                             locate inside Turquoise Trolley - inside Official Table Supply Bag - inside Roster-Index)
                             Verifies payroll information is correct.
                             Circle the name of Poll Worker who will help return supplies.
                                                 DO NOT REMOVE FROM THE ROSTER-INDE          BINDER


   2. Gives out Name Badges Bilingual Badges and Election Pins
Poll Workers MUST wear Badges at all times.
Bilingual Poll Workers ONLY wear Bilingual Badges identifying the language they
speak (locate inside Turquoise Trolley - inside Opening Polls Supply Bag).



   3. Hands Out Opening Job Cards to Poll Workers:
           Job Card 1                  Job Card 2                Job Card 3                  Job Card 4




   4. Directs Accessible Polling Place Set Up
                                ives direction on how to properly set up Polling Place
       Sample Single Polling Place Diagram                               Sample Multiple Polling Place Diagram




                 Create a clear path for Voter on a wheelchair to maneuver inside the Polling Place
If Precinct has 3rd Clerk, ask 3rd Clerk to assist            If Precinct has 4th Clerk, ask 4th Clerk to
Inspector with setting up Touchscreen and assist              assist Judge with setting up Scanner and
other Poll Workers.                                           assist other Poll Workers.

   5. Sets Up Touchscreen                Pers n Rule
   Use the instructions attached to this Job Card
   Clerk 1 will assist in setting up Touchscreen

    Touchscreen is a Voting Booth and must be set up and ready by 7:00 a.m.!
                                                                                                                     1

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        6. Sets Up Card Activator (Removes Card Activator from Small Scanner Bin




      6.1 Remove Card Activator,                6.2 Plug-in power                6.3 Locate Power On/           6.4 Attach “Voter Card
       power cord, and “Voter Card                cord’s pronged end                Off switch on the lower         Activation Instructions”
       Activation Instructions” f rom black       into a power strip.               lef t side and turn             to the back of Card
       canvas case. Store case in a saf e                                           switch to on.                   Activator using the
       location under the Off icial Table.                                                                          Velcro tabs.
      Card Activator placed on or near Official Table                             Voter Cards near Card Activator

        7. Checks the following:
      Scanner s set up
         Public Counter display reads zero
         Red Security Seal serial number on the back of Scanner is verif ied against Seal er f cat n rm form signed by 2 Poll
            Workers
         “Opening the Polls” section on Cert f cate f Perf rmance for Scanner (both copies) has been accomplished
         Vote Totals Report (Scanner tape) reads zero Precinct Number, date and time are correct
         Scanner tape has been signed by all Poll Workers
         Scanner Bins are empty
      T uchscreen s set up
         Red Pull-Tite Security Seal serial number on the Res ults Cartridge Door is verif ied against Seal er f cat n rm form
            signed by 2 Poll Workers
         “Opening the Polls” section on Cert f cate f Perf rmance for Touchscreen (both copies) has been accomplished
         POLLS OPE N/CLOSED switch cover is sealed with a new WHITE PULL -TITE SE CURITY SEAL
         Removed WHITE PULL-TITE Security Seal taped to the reverse side of the Seal er f cat n rm
         Public Counter reads zero (0)
         Audio Unit is connected to the Audio Port and placed in Touchscreen “Well Area”
         Touchscreen cover is secure and saf ely stored
         Cases for V-VPAT Printer, Audio Unit, and Card Activator are all secure and saf ely stored under the Off icial Table
      Card Act at r placed n Off c al Table th             ter Card Act at n Instruct ns attached
         ter Cards near Card Act at r
      Tur u se Tr lley ell           te By Ma l Ball ts Tr lley Blue Pr s nal Ball ts Tr lley and L me BM Pr                        s nal
       Ball ts Supplemental Ba are empty
      Ins de S ns are p sted
         Spanish Sample Ballot
         Copy of Inside Street Index
         Voter Inf ormation Center (V. I.C.) is set up - Sample Ballots on f ront of V.I.C (set up near Of f icial Table, visible to all Voters)
         Facsimile Ballots (if any)
         Language Assistance/Ballot Availability Sign is posted in f ront of the Off icial Table
      Outs de S ns are p sted
         Curbside A-Frame (Accessible Entrance A -Frame, if any)
         Tri-Fold (placed outside, visible to all Voters)
         Directional Arrow Signs (2)
         Polling Place “100 Feet” Signs (2)
         Accessible Entrance Signs (posted only if Polling Place has an accessible entrance)
         Copy of Outside Street Index (instructs Poll Worker to update every hour until 6:00 p.m.)
         t n B ths set up (6 including the Voting Booth with Adapters f or Voters with Disabilities)
      Off c al Table (neat and organized)
      Gray      ded Surrendered      te By Ma l Ball ts Ba and Purple Sp led Ball ts Ba under the Off c al Table
      P ll W rkers ha e Off c al Table        b Cards n Off c al Tabl e
      P ll W rkers ear n Off c al Nam e Bad es r B l n ual Bad es f appl cable
      Break Lunch Schedule p sted
      P ll W rker ass ned t r de t Return Center th Inspect r c rcle nam e n the Payr ll f rm
                                                   Friendly support is ust a phone call away!
                                            Call Inspector Hotline at 510 835 -0320 immediately if:
                       Polling Place is locked at 6:00 a.m.                     Voting Equipment is tampered or is not working
                       Poll Worker is missing                                   Voters cannot start voting at 7:00 a.m.
                                           Notif y Precinct Coordinator af ter calling Inspector Hotline
                                        Call Precinct Coordinator for other questions or assistance
                                  Thank y u f r y ur c mm tment t ser e the             ters f Alam eda C unty!                              2


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                                  Inspector’s Opening
                                       Assigned Tasks
 Task 1:
  Inspector takes and
  administers the “Oath of
  Office” to all Poll Workers
  (CEC § 12321)
 Task 2:
  Gives out Name Badges
  and Bilingual Badges –
  Election Pins
 Task 3:
  Hands Out Opening Job
  Cards to Poll Workers
                                       24




                                  Inspector’s Opening
                                       Assigned Tasks
 Task 4:
  Directs Accessible Polling
  Place Set Up
 Task 5:
  Sets Up Touchscreen
  (2 Person Rule)
 Task 6:
  Sets Up Card Activator
  (Removes Card Activator from Small
  Scanner Bin)




                                       25




                                                                    13
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            Accessible Voting Equipment


                                                          Card Activator and
                                                             Voter Cards


     Voter Verified Paper
      Audit Trail Printer
                                  Touchscreen
                                                             Audio Unit
                        This is a Voting Booth
              It MUST be SET UP and READY by 7:00 a.m.!
                                        32




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                      Task 1: Sets Up Scanner                            Pers n Rule

                            Use the instructions attached to this
                             Job Card

                            Clerk 2 will assist in setting up
                             Scanner


Task 2: Sets Up Blue Voting Booths After setting up Scanner




                                  Step 1                     Step 2                   Step 3
                            Unlatch Booth              Unhook “S” hook       Remove Privacy
                                                                                 Shields and legs
 Locate Blue Voting
                                                                               Turn upside down
 Booths on Voting
                                                                               Attach legs together
 Equipment Delivery
                                                                               Insert legs into
 Cart
                                                                                 sockets of Booth




       Step 4                     Step 5                     Step 6
 Stand Booth on legs    Install Privacy Shield      From inside Booth,           “How to Vote
                             in (3) grooves in           secure Privacy          Instructions” and
                             base of Booth               Shield by pulling    “Tampering Warning”
                                                         bungee cords         Signs are already posted
                                                         through half -moon    in the Privacy Shields
                                                         slits in Shield


  5 Blue Voting Booths 1 Blue Voting Booth with Adapters need to be set up.
              One Booth is designated for Voters with Disabilities
                      Follow instructions on back page

                                                 1
                                                                                                         15
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                                                                                      Only one (1) Voting
                                                                                      Booth with Adapters


             Identifying Decal          Adapters locate in Turquoise Trolley

                         Use Booth marked with the Accessibility Symbol decal
                   or white Velcro tab masking tape on the handle it has shorter legs.




                                                    Step 1
        Install Adapters in front of Booth as shown above (FRONT is written on the Booth).




                                                    Step 2
        Lock in Adapter with locking tab on back of Adapter.




                                                     Step 3
        Short legs are fitted into Adapters and into back of Booth. Install Privacy Shield.
         “How to Vote Instructions” and “Tampering Warning” Signs are already posted on the Privacy
                                                 Shields.

                             When disassembling, return Adapters to Scanner Bin.
                                         See Inspector after setting up.
                                  Friendly support is ust a phone call away!
              Call Inspector Hotline at 510 835 -0320 or Precinct Coordinator for questions or assistance

16                                                         2
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                                               Judge’s Opening
                                                 Assigned Tasks
    Task 1:
     Sets Up Scanner
     (2 Person Rule)
    Task 2:
     Sets Up Voting Booths
     (After setting up Scanner)




                                          28




            Unpack from Scanner Bins


     Card Activator

                                                            Scanned Voted Official
                                     SCANNER BINS           Ballots Box(es) (empty)




     V-VPAT Printer                                    Voter Information Guide (if any)




Scanner Bins are full of Supplies.        Audio Unit          Power Strip and/or
Remove ALL items from the Bins.                             Extension Cord (if any)


                                                                                          17
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                     Task 1:
                     Assists Inspector in Setting Up Touchscreen
                      see Inspector

                        Task 2:
                      Sets Up Official Table after setting up Touchscreen
                   Locates the Official Tabl e Supply Bag inside the Turquoise Trolley or asks for the
                 Offici al Table Supply Bag from Inspector




                 Sample Diagram of the Official Table is also in “The Gu de



   1. Using checklist provided inside the Official Table Supply Bag, checks
       all the items inside the Official Table Supply Bag.



   2. Sets up the Official Table near the entrance of Polling Place and
       considers the flow of Voter traffic.



   3. Makes sure Official Table is neat and organi ed.




             Sample Diagram of the Official Table on the back of this Card
                        Friendly support is ust a phone call away!
     Call Inspector Hotline at 510 835-0320 or Precinct Coordinator for questions or assistance


                                                                                                         19
20
     Sets up the Official Table using the diagram                          VOTER SIDE                     See Inspector after setting up
                           LANGUAGE ASSISTANCE SIGN
        1
                                   3                                 9                            12
                                                                                                                                                              19
                                                                             List
                                                                          Candidates                                  20
                                                                           Write-In
        2
                                                                           Write-In Candidates

                                                                                    List
                                                                           Write-In Candidates
                                                                                                                 17                         18
                                                                           Write-In Candidates

                                                                                    List
        4                                                                  Write-In Candidates




                                                                 8                                                          13
                                        6
                                                                                                 11
                                                                                                                                       14                             16




        5                                     7
                                                                                      10
                                                                                                                                  15
                OFFICER                     OFFICER
                 INDE                        INDE
                                                                                                       OFFICER        Voter Cards and Card Activator
                                                                                                       BALLOT
                STREET                      ROSTER-                                                                        are on Official Table


            Place Gray     ded Surrendered     te By Ma l Ball ts Bag, Purple Sp led Ball ts Bag,
               Card Activator Bag, V -VPAT Printer Bag, Audio Unit Bag under the Official Table                              21

      1. Language Assistance Sign (in front of Official Table)           12. Write-In Candidates List
      2. Voter Assistance Telephone Cards                                13. Ballot Officer Job Card
      3. Magnifier and Pen with rip                                      14. Pens (24 pieces)
          (supplies for Voters with Disabilities)                        15. Voter Cards (6 pieces)                          22
      4. Street Index Officer Job Card                                   16. Card Activator
      5. Street Index                                                    17. English/Chinese Ballots (in box)
      6. Roster-Index Officer Job Card                                   18. English/Spanish Ballots (in box)
      7. Roster-Index Binder                                             19. English/Tagalog Ballots (in box)
                                                                                                                                                                                       Case 3:16-cv-02739-WHA Document 20-1 Filed 05/28/16 Page 28 of 45




      8. Street Polling Place Look-Up                                    20. English/Vietnamese Ballots (in box)             23
                                                                                                                                                      are on top of Red Trolley




      9. HAVA ID Requirements                                            21. Secrecy Sleeves (24 pieces)
      10. Quick Reference Chart                                          22. Provisional Envelopes
                                                                                                                                                  Forms, and Provisional Envelopes
                                                                                                                                                 Secrecy Sleeves, Voter Registration




      11. Tally Form                                                     23. Voter Registration Forms


                                       Some Polling Places will receive materials in Hindi, Japanese, Khmer, and Korean
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                                        Clerk 1’s Opening
                                          Assigned Tasks
         Task 1:                                    Task 2:
  Assists Inspector in                   Sets Up Official Table
Setting Up Touchscreen                     (After setting up Touchscreen)




                                   31




                Follow the diagram from the
“Clerk 1: Opening Job Card 3” OR “The Guide” to comply with
           Federal, State, and Local Election Laws.
  When setting up the Official Table, consider the following:
    Is my Official Table neat and organized?
    Are Ballots within reach?




                 See Inspector after setting up
                                                                            21
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                       Task 1: Assists Judge in Setting Up Scanner see Judge
                      Task 2: Posts Inside and Outside Signs
                                            After setting up Scanner

                          Posting Inside Signs CEC 14105.3
 Some Polling Places will receive signs in Hindi, Japanese, Khmer, and Korean.
                Post all Inside and Outside Signs as required.


                                         3. Voter Inform ation Center V.I.C. :
                                          Locate in the Voting Equipment
                                          Delivery Cart. Instructions on how to
                                          set up Voter Inf ormation Center
                                          (V.I.C.) are at the back of Voter



 1. Inside Street Inde :
   Locate inside the Roster-Index
                                          PLACE VOTE R INFORMATION CE NTER
  Binder f rom the Off icial Table Supply
  Bag) Post Inside Street Index inside NEAR THE OFFICIAL TABLE VISIBLE
                                                   TO ALL VOTE RS
  the Polling Place, visible to Voters.
                                         After assembling the Voter Inf ormation
                                          Cent er (V.I. C.), place Sample Ballots
                                          inside sleeves on the f ront of Voter
                                          Inf ormation Center (V.I.C.), according
                                          to each language.
                                           Top Two Candidates Open
                                           Primary Act Notifications are
                                           already posted on the f ront of Voter
                                           Inf ormation Center (V.I.C.).
 2. Spanish Sample Ballot:
  (Take one copy f rom Supplies)           A second Voter Inf ormation Center
  Turn to page that shows the              with additional languages will be
  Spanish Sample Ballot. Post it open      provided only in Polling Places where
  so Voters can see the Spanish            Hindi, Japanese, Khmer, and
  Sample Ballot.                           Korean ar e requir ed.


        ADDITIONAL SIGNS FOR
    MULTIPLE MEGA POLLING PLACES:

                                                             V.I.C. for Hindi, Japanese, Khm er, and Korean



                                                             FACSIMILE
 MULTIPLE POLLING             LETTER SIGN                   BALLOT IF ANY
  PLACE SIGN IF ANY             SIDE A, B, C,
                                ETC. IF ANY

  PROCEED WITH POSTING OUTSIDE SIGNS: INSTRUCTIONS ON HOW TO POST OUTSIDE
              SIGNS ARE LOCATED AT THE BACK OF THIS JOB CARD
                                                        1
                                                                                                               23
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                     Posting Outside Signs CEC 14105.3
                Signs can be found in the Opening Polls Supply Bag Inside Red Trolley
                  Locate A-Frames and Tri-Fold on the Voting Equipment Delivery Cart




      1. Curbside A-Frame:                  2. Accessible Entrance A-Frame  3. Tri-Fold:
       Place at the curb as near as           (if any): Place near the accessible Place outside making it visible to
       possible to the entrance of the        entrance path of the Polling Place. all Voters.
       Polling Place.

     All signs below are to be posted using the tape in your Stationery Kit inside the Opening
     Polls Supply Bag located in the Red Trolley




      4. Polling Place Directional             5. Polling Place “100 Feet” Sign  6. Accessible Entrance Sign
       Arrow Sign (double-sided): Post          (double sided): Walk 40 steps in     (double-sided): Post near the most
       the sign so Voter can see it f rom       each direction f rom the main        accessible entrance of the Polling
       the street (arrow sign must be           entrance of the Polling Place        Place (arrow sign must be pointing
       pointing to the entrance of the          building and post the sign (arrow    to the entrance of the Polling
       Polling Place).                          sign must be pointing to the         Place).
                                                entrance of the Polling Place).
                                                                                   P st s n f P ll n Place has an
                                                                                   alternat e access ble entrance




                                                                                       Posting of ALL Polling
                                                                                      Place Signs is Required
                                                                                              by Law !

                                             8. Top Two Candidates Open
      7. Outside S treet Inde :              Primary Act Notifications:                Assists other Poll
       (Locate inside the Roster-Index        Must be posted outside the Polling
       Binder f rom the Off icial Table       Place, visible to Voters.                Workers on Opening
       Supply Bag) Post outside near the                                                 tasks if needed
       door.                                All required languages need to be
       Update hourly until 6:00 p.m. if     posted
                  assigned

                                            See Inspector after setting up
                                        Friendly support is ust a phone call away!
               Call Inspector Hotline at 510 835 -0320 or Precinct Coordinator for questions or assistance
24                                                           2
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                                     Clerk 2’s Opening
                                       Assigned Tasks
         Task 1:                              Task 2:
 Assists Judge in                         Posts Inside and
Setting Up Scanner                         Outside Signs
        (See Judge)                       (After setting up Scanner)




                                                                SI DE A

                                                                A站

                                                               LADO    A

                                                               G I LI D A

                                                                BÊN A




                               34




            Polling Place Signs
           Posting of ALL Polling Place Signs is
                   REQUIRED BY LAW!

                                      5
            Signs will have ALL languages
  English, Chinese, Spanish, Tagalog, and Vietnamese

New Languages: Some Polling Places will also receive
 signs in Hindi, Japanese, Khmer, and Korean; post all
         Inside and Outside Signs as required!
Refer to “Clerk 2: Opening Job Card 4” for instructions
                 on where to post signs.
                                35
                                                      CEC 14105.3


                                                                            25
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                             Posting Inside Signs
                                                                                   Voter Bill of Rights


      Inside Street Index                                                         Top Two Candidates
                                                                                   Open Primary Act
         Sample Ballots:                                                             Notifications
     English, Chinese, Spanish,
     Tagalog, and Vietnamese.
     On V.I.C., place in sleeves
      according to language.




                                    Voter Information Center                    Facsimile Ballot (if any):
                                                  CEC 14105.3                     Hindi, Japanese, Khmer,
                                    Follow the instructions on the back of              and Korean.
     Spanish Sample Ballot                 Voter Information Center.                Already attached to
                                    A second V.I.C. will be provided only in       second V.I.C. for new
     On wall, only a Spanish         Polling Places where Hindi, Japanese,               languages.
       copy is required.               Khmer, and Korean are required.
            CEC 14201                                                                     CEC 14201




                            Posting Inside Signs

      Single Polling Places -                   1 Precinct in a room
      Multiple Polling Places -                 2 Precincts in a room (Side A, Side B)
      Mega Polling Places -                     3 or more Precincts in a room
                                                (Side A, Side B, etc…)
        ONLY MULTIPLE AND MEGA POLLING PLACES WILL RECEIVE THESE SIGNS:

                                                                               SIDE A

                                                                                A站

                                                                               LADO A

                                                                               GILID A

                                                                               BÊN A

                                                       37

                  Multiple Polling Place Sign                       Letter Sign (Side A, etc…)

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                      Posting Outside Signs




                 Curbside A-Frame                   Accessible Entrance A-Frame
              Place at curb nearest to            Place near accessible entrance of
             entrance of Polling Place                  Polling Place (if any)
                                         CEC 14105.3
        Make sure that the A-Frames do not block the path of travel

                      Posting Outside Signs




       Street Index                                                      Tri-Fold
                                                                        CEC   14105.3




                               Directional Arrow Sign




Polling Place 100 Feet Sign                                 Accessible Entrance Sign
(40 Steps from Main Entrance                 39
                                                        (If there is an Accessible Entrance)
         of Building)

                                                                                               27
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                     Posting Outside Signs
      Top Two Candidates Open Primary Act Notifications




                                                           (If any)
         Post outside of the Polling Place, visible to Voters
         Available in English, Chinese, Spanish, Tagalog, Vietnamese,
          Hindi, Japanese, Khmer, and Korean; post all signs received
                                        40




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  Inspector’s Opening Assigned Tasks (continued)


  After Poll Workers have                        Task 7:
   finished with their tasks,
   Inspector will use the
                                     Checks the following:
                                     Checklist is located at the back of the
   Checklist to confirm                “Inspector: Opening Job Card 1.”
   that the Polling Place has
   properly been set up.




                                41       Sample available on page 12
                                           of Poll Worker Manual




 You are ready to “Open” the Polls!
 At 7:00 a.m., the Inspector goes to the
 main entrance of the Polling Place and
            declares aloud:

                           The Polls are now Open!

                                       CEC 14213


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                                   Scenarios
          Polling Place is locked at 6:00 a.m.
      Notify Registrar of Voters and the Precinct Coordinator about
       the situation.
      If Polling Place remains locked by 7:00 a.m., let the Voters
       vote outside the Polling Place.
     1st Voter Procedures
      are done when the
         1st Voter comes




      Using the Roster-Index, Official Poll Inspector Ballots and
       Turquoise Trolley.
                            Voting must start at 7:00 a.m.

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  ELECTION DAY
  PROCEDURES
7:00 a.m. – 8:00 p.m.




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                     1st Voter Procedures


         As required by the California Secretary of State, the
         “1st Voter” in each Polling Place must verify the
         Scanner Bins and Trolleys are empty, the Public
         Counters of the Scanner and Touchscreen machines
         read zero.

         With ORANGE Security Seal and WHITE Pull-Tite
         Security Seals in hand, the Inspector will:

                                             45
                                       CEC    14215




                     1st Voter Procedures
      Locate 1st Voter in Street Index
      Locate 1st Voter in Roster-Index
      1st Voter signs Roster-Index, but is
       not issued a Ballot
      1st Voter confirms both Scanner
       Bins are empty
      Inspector locks Scanner door and
       secures door with an ORANGE
       Security Seal
      Direct 1st Voter’s attention to the        Empty.           Secure.
       LCD display and confirm display
       reads “0000” (zeros)
      1st Voter verifies Scanner tape
       displays correct Precinct
       Number, correct date and time,
       all contests on the Scanner tape
       read zero, and that all Poll
       Workers have signed the Scanner 46
       tape.                            CEC 14215          Zero.

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                          1st Voter Procedures
     1st Voter confirms the following Ballot Containers are empty:


 Empty                        Empty
                                                                      Empty                  Empty




    Yellow Vote By                 Blue Provisional                  Turquoise Trolley         Lime VBM/Provisional
   Mail Ballots Trolley             Ballots Trolley                                           Ballots Supplemental Bag

     Inspector closes each Ballot Container and secures each container with
      a WHITE Pull-Tite Security Seal.
                          Secure
Secure
                                                                 Secure                       Secure




                                                                                         Deposit any completed Voter
                                                            47
                                                                                          Registration Forms into the
                                                      CEC    14215                            Supplemental Bag.




                          1st Voter Procedures
     1st Voter verifies Touchscreen                                                                   Zero
      “Public Counter” reads zero.


     1st Voter verifies WHITE Pull-Tite
      Security Seal is on the rear
      “POLLS OPEN/CLOSED” switch
      cover                                                                                            Secure




     1st Voter verifies BLUE Pull-Tite
                                                                          Secure
      Security Seal on V-VPAT Printer

     1st Voter is taken to Official Table
     1st Voter is issued a Ballot and
      directed to Voting Booth                              48
                                                      CEC    14215

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                     Processing Voters at the
                               Official Table
                                               Introduction

                                        49




                       1 VOTER

                     1 BALLOT

                  1 SIGNATURE
                        Three Ways to Vote:
               Regular Voter – signs the Roster-Index
                       (White or Pink pages)

       Vote By Mail Voter – signs the Vote By Mail Envelope

     Voter voting Provisionally – signs the Provisional Envelope


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        Processing Voters: Know the Roles
                                  Refer to Official Table Job Cards

     Street Index                 Roster-Index                 Ballot              Demonstration
        Officer                     Officer                    Officer                Officer




                                 Rotate Officers throughout the day!
                     Teamwork is key! Multitasking is a MUST!
                                                  52




                        Street Index Officer
                         In charge of the Street Index
                 There are three (3) copies of the Street Index




       Place on Official Table                Post Inside                      Post Outside
                                           the Polling Place                 the Polling Place

     To be lined out when Voter          DO NOT update Inside             Update every hour until
        provides the correct                 Street Index                  6:00 p.m. by lining out
         address and name                                                Voter’s address and name
                                                                         to match the Official Table
                                                                                Street Index
                                                  53




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                                     STREET INDE OFFICER
                                        PROCEDURES
DIRECTIONS FOR STREET INDE OFFICER
1. GREET the Voter: “Hello!” or “Good morning!” or “Good afternoon!” or “Good evening!”

2. ASK Voter to s tate his /her ADDRESS (residence) and NAME aloud.
      E ample: May I ha e y ur address res dence and name please
3. LOCATE the address and name on the Official Table Street Index and LINE IT OUT.




      If you cannot locate Voter s address and name on the Official Table Street Inde ,
      notify Roster-Inde Officer: “Voter s name is not on the Street Inde .”

4. After lining out Voter s address and name, or even for Voter whose name is not on the Street
   Inde , inform Voter:
       “We      uld l ke t nf rm y u that lan ua e ass stance s a a lable And f e can help y u n
       any ay k ndly let us kn
  4a. If Voter is not requesting assistance, direct Voter to the Roster -Index Officer by informing
      Voter:
        Thank y u       u may pr ceed t       ur R ster-Inde Off cer f r further ass stance
  4b If Voter requested to be assisted in a specific language, ask Bilingual Poll Worker who
     speaks the same language to help Voter throughout the process, or Bilingual Poll Worker can serve
     as an interpreter.
      If no Bilingual Poll Worker is present, call the Language Hotline for Voter to receive language
      assistance over the phone.
      If Voter cannot receive help over the phone, a Bilingual Troubleshooter will be dispatched to
      assist the Voter.
   4c If Voter with disability requests to be assisted, provide assistance accordingly .
      Et uette u del nes re ard n D sab l ty Sens t          ty at the P lls are a a lable n The
      Gu de and P ll W rker Manual

              OFFICIAL TABLE ROLES WILL BE ROTATED THROUGHOUT THE DAY



                                                                                                         37
